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                                    #:1016


 1   Larry Zerner (SBN 155473)
     Morrison Cooper
 2   10900 Wilshire, Suite 930
     Los Angeles, California 90024
 3   Telephone: (310) 773-3623
     Email: Larry@MorrisonCooper.com
 4
     Attorney for Defendants Mitchell Clout
 5   And Koil Content Creation Pty Ltd.
 6
                         UNITED STATES DISTRICT COURT
 7
                        CENTRAL DISTRICT OF CALIFORNIA
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                                         )
 9   THAT ONE VIDEO                      ) Case No. 2:23-CV-02687 SVW
     ENTERTAINMENT, LLC, a California ) (JCx)
10   limited liability company,          )
                                         ) [Assigned to the Hon. Stephen V.
11                           Plaintiff,  ) Wilson; Ctrm 10A]
                                         )
12          v.                           ) DEFENDANTS REPLY BRIEF IN
                                         ) SUPPORT OF MOTION FOR
13   KOIL CONTENT CREATION PTY           ) SUMMARY JUDGMENT
     LTD., an Australian proprietary     )
14   limited company doing business as   ) Hearing
     NOPIXEL; MITCHELL CLOUT, an         )
15   individual; and DOES 1-25,          ) Date: October 21, 2024
     inclusive,                          ) Time: 1:30 p.m.
16                           Defendants. ) Dept.: Courtroom 10A (10th Floor)
                                         )
17                                       ) 350 W. First Street
                                         ) Los Angeles, CA 90012
18                                       ) Judge: Hon. Stephen V. Wilson
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 1         On September 23, 2024, Defendants filed the instant Motion for Summary
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     Judgment. Per court rules, Plaintiff’s opposition brief was due to be filed no later
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     than September 30, 2024 (21 days prior to the October 21, 2024 hearing date).
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     Plaintiff did not file any opposition brief to Defendants’ Motion. Accordingly,
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     Defendants’ request that the court enter summary judgment in Defendants’ favor as
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     there are no issues in dispute.
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           FRCP 56(e) states, in pertinent part, “If a party fails to properly support an
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     assertion of fact or fails to properly address another party’s assertion of fact as
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     required by Rule 56(c), the court may:
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     . . . (2) consider the fact undisputed for purposes of the motion; [or]
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     (3) grant summary judgment if the motion and supporting materials—including the
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     facts considered undisputed—show that the movant is entitled to it; . . .”
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            CD CA Rule 56-3 states, “In determining any motion for summary judgment
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     or partial summary judgment, the Court may assume that the material facts as
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     claimed and adequately supported by the moving party are admitted to exist without
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     controversy except to the extent that such material facts are (a) included in the
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     “Statement of Genuine Disputes” and (b) controverted by declaration or other written
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     evidence filed in opposition to the motion.”
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           In the present case, Plaintiff has not presented any evidence to controvert the
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     (now) undisputed facts that, inter alia, (1) Daniel Tracey granted Koil a license to
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     incorporate his code into the NoPixel server, (2) there was never an agreement to
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     “loan-out” Mr. Tracey’s services to Koil, and (3) the code that Mr. Tracey
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     contributed to the NoPixel server was not a joint work and thus neither Mr. Tracey
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     nor Plaintiff can be considered to be a joint author of the NoPixel server.
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     -2               Defendant’s Reply Brief Re Motion For Summary Judgment
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 1         In light of these undisputed facts, Defendants’ respectfully request that the
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     Court grant the motion and enter summary judgment in favor of Defendants.
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 4
     DATED: October 3, 2024

 5
                                                     MORRISON COOPER

 6
                                                     By: /s/Larry Zerner
                                                     Larry Zerner Attorney for KOIL
 7                                                   CONTENT CREATION PTY LTD.,
 8                                                   AND MITCHELL CLOUT

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     -3              Defendant’s Reply Brief Re Motion For Summary Judgment
